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 1 that is, you know, with me. So that could have            1 at your property?
 2 been from anywhere.                                       2     A I don't know, you know, if I called them,
 3     Q I don't understand that answer. Did you             3 you know, the DeKalb County for any of these
 4 find this document on the street or did you find it       4 crimes, these incident or not. But I don't know.
 5 at the United Inn and Suites?                             5     Q You don't remember calling them?
 6     A I don't know. It could have been in the             6     A No.
 7 United Suites email.                                      7     Q Is it possible you did not call them?
 8     Q So it could have been a document that you           8     A I don't know.
 9 found on your business email account?                     9     Q The next paragraph says: Please take
10     A Yeah.                                              10 appropriate security measures to ensure the safety
11     Q It also could have been a hard copy                11 of your patrons. Potential safety measures to
12 document?                                                12 implement include, but are not limited to,
13     A I don't know. That's the reason I was              13 sufficient lighting, open paren, parking lots,
14 confused.                                                14 perimeter entrances, stairwells, close paren;
15     Q Well, you agree with me that it looks              15 property landscaping, open paren, trimming of trees
16 like it has been photocopied, you can see some           16 slash bushes around the windows, stairways, walk
17 markings in the left-hand side and it is not lined       17 paths and common areas, close paren; adequate
18 up properly on the page?                                 18 security, open paren, private security, off duty
19     A Right.                                             19 police, rotating days when security present, close
20     Q Do you agree it looks like it was                  20 paren; proper signage slash surveillance video,
21 photocopied?                                             21 open paren, no loitering, unlawful activities not
22     A I don't know.                                      22 permitted, signage about video surveillance, close
23     Q And there's no email that was produced in          23 paren.
24 this case that contains this document. Are you           24        Do you see that?
25 aware of that?                                           25     A Yes.
                                                 Page 273                                                   Page 275
 1     A Yes.                                                1     Q Do you remember reading this letter when
 2     Q So you're saying you just don't know if             2 you received it, Mr. Shareef?
 3 this was in a hard copy file at your business or          3     A I don't know. It is so long ago, so I
 4 not?                                                      4 don't know.
 5     A That's correct.                                     5     Q Well, what would be your practice in 2017
 6     Q I wanted to ask you about -- well, let me           6 if you received a letter from the DeKalb County
 7 back up a second. You're not disputing that you           7 Police Department, would it be important to you?
 8 had this document in your possession though; is           8     A Yes, it is important. I read them and I
 9 that correct?                                             9 see if there is some overgrown bushes or some
10     A It could have been in an email.                    10 lighting problem at the parking lot. I always have
11     Q There's a list here of crimes that were            11 the signs there no loitering, unlawful activities.
12 reported at the United Suites in Plaintiff's             12 I always have those signs. So if somebody knock
13 Exhibit 2 for the period January 2017 to March 31,       13 down the sign, we put it back.
14 2017. One of the crimes listed it says runaway           14     Q We discussed in your February deposition
15 juvenile. Is that familiar to you?                       15 that for the years 2017 to 2019, the United Inn had
16     A No.                                                16 security at the property from the hours of
17     Q Do you know what crime that is referring           17 10:00 p.m. to 2:00 a.m.
18 to?                                                      18     A Yes.
19     A No.                                                19     Q But not for the other hours --
20     Q When you received this notice, did you             20     A Right.
21 call the DeKalb County Police Department to              21     Q -- is that correct?
22 inquire?                                                 22     A Right.
23     A No.                                                23     Q In other words, the United Inn for the
24     Q Did you have any concerns about there              24 years in question had security for four hours a day
25 being a reported crime involving a runaway juvenile      25 but not for 20 hours a day?

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 1    A Right.                                              1    Q What does that mean?
 2    Q And you told me in February that the                2    A That mean prevent the crimes.
 3 DeKalb County Police Department recommended to you       3    Q To take action to stop crime from
 4 and your hotel that you have more security; is that      4 happening in the future?
 5 correct?                                                 5    A Uh-huh (affirmative).
 6    A I mean they always come in and recommend            6        MR. UNDERRINER: Object to the form.
 7 things. But I don't know if they specifically -- I       7 BY MR. BOUCHARD:
 8 mean they if they do see some sign knocked down or       8    Q Well, if you don't understand -- I mean
 9 something, they may have, you know, tell me these        9 is what I just said your understanding of
10 things.                                                 10 prevention or do you have a different
11    Q Well, that's not what I'm talking about.           11 understanding?
12 I'm not asking you about signs. Last time in            12    A No, I have the understanding of
13 February when we talked, you said that the police       13 prevention.
14 came about two to three times a week for the years      14    Q To try to avoid crime from happening in
15 2017 to 2019.                                           15 the future?
16    A Uh-huh (affirmative).                              16    A Yes.
17    Q Do you recall that?                                17    Q What do you understand this sentence to
18    A Yes.                                               18 mean that I just read, the DeKalb County Police
19    Q And I asked you, I said Mr. Shareef, you           19 Department is able and willing to work with you on
20 know, at some point in time as the owner and            20 efforts to implement prevention measures at your
21 general manager of the hotel, did you ever go to        21 hotel and answer any questions?
22 the police and say what can I do to try to prevent      22    A Yeah, if I have any question and they
23 crime?                                                  23 give me this phone number, I could call them.
24    A Uh-huh (affirmative).                              24    Q What about able and willing to work with
25    Q Seems like two to three visits a week              25 you on efforts to implement prevention measures?
                                                Page 277                                                  Page 279
 1 from the police is a high volume of visits. And          1     A Meaning that, you know, if they need to,
 2 you said that one of the things that they                2 you know, talk to me and maybe suggest something.
 3 recommended was hiring more security. Do you             3     Q Did you ever ask them to work with you on
 4 remember that?                                           4 efforts to implement prevention measures?
 5        MS. RICHENS: Objection to the form of             5     A No. I have these officer, they are from
 6 the question.                                            6 the same department. I talk with them all the
 7    A I don't know.                                       7 time. They work for me. They come every night.
 8 BY MR. BOUCHARD:                                         8 So those are the, you know, question I tell them,
 9    Q But you would agree with me that from               9 you know, that we need to -- what we can do. And
10 2017 to 2019, you never had security at the             10 they always, you know, suggested that, you know, we
11 property outside of 10:00 p.m. to 2:00 a.m.?            11 have a problem, call 911, call the cops.
12    A I don't.                                           12     Q Other than Weber and McClelland who I
13    Q You do not agree or you do agree?                  13 believe you're referring to right now.
14    A I agree that I have security only on               14     A Yes.
15 those times.                                            15     Q Did you ever ask the DeKalb County Police
16    Q The last paragraph for Plaintiff's                 16 Department to work with you on efforts to implement
17 Exhibit 2 says, quote, the DeKalb County Police         17 prevention measures at the hotel?
18 Department is able and willing to work with you on      18     A I don't know.
19 efforts to implement prevention measures at your        19     Q Well, you understand that you're the
20 hotel and answer any questions.                         20 30(b)(6) representative for Northbrook Industries,
21        Do you see what I just read?                     21 Inc. on the topic of, among others, security at the
22    A Yes.                                               22 property. This is my only opportunity before
23    Q What do you understand the word                    23 trial, Mr. Shareef, to understand what security
24 prevention to mean?                                     24 measures for example the hotel had in effect during
25    A Prevent the crime.                                 25 the relevant period. Do you understand that?

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 1     A Yes.                                                1 Department to do a security assessment of your
 2     Q Are you prepared to testify today?                  2 property?
 3     A I am.                                               3    A No.
 4     Q Did the hotel or did not the hotel take             4    Q Did you ever ask the DeKalb County Police
 5 on the DeKalb County Police Department's request          5 Department to do an assessment of measures you
 6 and offer -- let me strike that and ask it again.         6 could put in effect to reduce crime on the
 7        At any point in time did the United Inn            7 property?
 8 and Suites ask the DeKalb County Police Department        8    A Again, my source is those police officer.
 9 to work with it on efforts to implement prevention        9 They are there and I meet them almost nightly
10 measures at the hotel?                                   10 basis. So I ask them, you know, if there's
11     A Like I said, I talked to the Sergeant              11 anything -- if there's any question, so I might
12 Weber and Sergeant McClelland, so they are the           12 have asked them. I don't know. This is 2017.
13 representative, you know, from the Police                13    Q This letter didn't come from Weber or
14 Department, same department which you asked me, you      14 McClelland, correct?
15 know, what I have done. So this is my main source,       15    A Uh-huh (affirmative).
16 so I always seek help from them.                         16    Q Is that right?
17     Q Other than them, the answer is no?                 17    A Yes.
18     A That's right.                                      18    Q It came from a Major Padrick, right?
19     Q And they were working in an off-duty               19    A Okay. Yes.
20 capacity from 10:00 p.m. to 2:00 a.m.?                   20    Q And McClelland and Weber were working at
21     A Yes.                                               21 the United Inn in an off-duty capacity four hours
22     Q The rest of the day they were not working          22 per day prior to this letter being sent to you,
23 at the property, they were working for the DeKalb        23 right?
24 County Police Department or they were at home or         24    A Yes.
25 doing something else, right?                             25    Q Did the United Inn take any action based
                                                 Page 281                                                  Page 283
 1        MR. UNDERRINER: Object to form.                    1 on this letter, Plaintiff's Exhibit 2?
 2     A Maybe.                                              2     A We might have. Like I told you, whatever
 3 BY MR. BOUCHARD:                                          3 we think is appropriate to help, we do it.
 4     Q I mean did they work at your hotel the              4     Q What I'm asking is in response to your
 5 other 20 hours per day?                                   5 receiving Plaintiff's Exhibit 2, did the hotel
 6     A No.                                                 6 implement some new security measure?
 7     Q And have you produced all the text                  7     A Some new security measure. I don't know.
 8 messages in this case that you have from the years        8 I think that's -- I don't know but we might have.
 9 2017 to '19 with Weber and/or McClelland?                 9 I don't know.
10     A I guess so.                                        10     Q Did the hotel continue doing what it had
11     Q So when you say you were communicating             11 always done as it relates to security after it
12 with them all the time, that would be reflected in       12 received Plaintiff's Exhibit 2?
13 the text messages you produced?                          13        MR. UNDERRINER: Object to the form.
14     A Yes.                                               14     A Can you repeat the question.
15     Q Did you ever ask the DeKalb County Police          15 BY MR. BOUCHARD:
16 Department to help train your staff on sex               16     Q Yeah. You told me that Weber and
17 trafficking?                                             17 McClelland were working four hours per day --
18     A Did I ever ask. No.                                18     A Uh-huh (affirmative).
19     Q Or on commercial sex activity?                     19     Q -- prior to receipt of this letter in
20     A No.                                                20 2017, right?
21     Q Did you ever ask the DeKalb County Police          21     A Yes.
22 Department to train your staff on indicators of          22     Q After you received this letter, that is
23 crime?                                                   23 Plaintiff's Exhibit 2, did you ask Weber or
24     A Did I ask them. No.                                24 McClelland to start working more hours per day?
25     Q Did you ever ask the DeKalb County Police          25     A No.

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 1    Q Did you ask other security to come in and          1 produced in this case?
 2 start working other hours during the day?               2     A The documents, you got it from your --
 3    A No.                                                3 from my United Inn email. You know, that's a long
 4    Q Did you implement any other new security           4 time ago. I did not, you know, read, you know,
 5 measures after receiving Plaintiff's Exhibit 2          5 lately what is there.
 6 based on Plaintiff's Exhibit 2?                         6     Q No. I'm talking about documents that
 7    A No.                                                7 were produced for the first time last week. Have
 8    Q So as the owner of the hotel, it is not            8 you read these documents, Mr. Shareef?
 9 like you got Plaintiff's Exhibit 2 and you said         9     A From the emails? What is the question?
10 wow, I am going to implement some new security         10 Which documents you are -- I don't know.
11 measures based on what I am reading here?              11     Q The whole reason that we're here today is
12        MR. UNDERRINER: Object to the form.             12 because there were documents produced after you
13 BY MR. BOUCHARD:                                       13 were deposed in February.
14    Q I didn't hear your answer, sir.                   14     A Okay.
15    A I don't know how to answer it. But                15     Q Do you understand that?
16 again, you know, I pass whatever information to my     16     A Yes.
17 officers, and that's my best source because they       17     Q In fact, those documents were produced
18 working on the same department and they are very,      18 last week. Do you understand that?
19 you know, qualified people.                            19     A Via email. Via ...
20        (Plaintiff's Exhibit 3 marked)                  20     Q The documents were provided from your
21 BY MR. BOUCHARD:                                       21 lawyer to me last week. Do you understand that?
22    Q I'm showing the witness Plaintiff's               22     A Yes.
23 Exhibit 3 which is Bates stamped NBI 03765 and         23     Q Have you reviewed those documents in
24 NBI 03766 through NBI 03774.                           24 connection with getting ready for your deposition
25        Mr. Shareef, I have handed you what's           25 today, Mr. Shareef?
                                               Page 285                                                 Page 287
 1 been marked as Plaintiff's Exhibit 3 which is an        1     A I have seen some. But I don't know, what
 2 email and the attachment to the email. Do you see       2 is -- how many of them you get it via email?
 3 that?                                                   3        THE WITNESS: Is that that email we
 4    A Yes.                                               4 talking about here? Which document he's
 5    Q And it is an email from Chief Sumlin to            5 concerning?
 6 the hotel's email account at Gmail. Do you see          6        MS. RICHENS: You received this by email.
 7 that?                                                   7        THE WITNESS: Email. Yeah.
 8    A Yes.                                               8        MS. RICHENS: He's asking if you remember
 9    Q Dated November 14th, 2017; is that right?          9 receiving it?
10    A Yes.                                              10 BY MR. BOUCHARD:
11    Q And this is about seven months after the          11     Q Well, actually that's not what I'm
12 date on Plaintiff's Exhibit 2, that letter we were     12 asking.
13 just looking at from the DeKalb County Police          13     A Okay.
14 Department; is that right?                             14     Q I'm asking if you have reviewed the
15    A Yes.                                              15 documents that your lawyers produced to me last
16    Q Are you familiar with this email and the          16 week in this case?
17 Proposal for Security Services attached to it?         17     A No.
18    A Yes, I have seen it.                              18     Q You did not?
19    Q You're familiar with it?                          19     A No.
20    A I may have seen this one that time. I             20     Q But you're prepared to give testimony
21 may have talked to him. I don't know.                  21 today on behalf of the corporation?
22    Q Did you review any documents to prepare           22     A But I don't know that this the document,
23 for your deposition today?                             23 you know, I'll see and I have to remember, you
24    A No, I did not.                                    24 know, what happened in 2017.
25    Q Have you reviewed the documents that you          25     Q Well, I'm not asking you to remember

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 1    A Yes.                                                1    Q And you do not recall why?
 2    Q Do you agree with me that it looks like,            2    A I don't know.
 3 according to Plaintiff's Exhibit 3, Brown                3    Q And you didn't decide in November 2017 or
 4 Protective Services would have been available 24         4 thereafter to hire any other private security
 5 hours a day?                                             5 company to provide additional security at the
 6    A Yes.                                                6 property; is that correct?
 7    Q Did you receive proposals from any other            7    A I may have. I don't know.
 8 security service providers that would have provided      8    Q Well, I think the answer is no. But let
 9 you with 24-hour security at the hotel?                  9 me ask again.
10    A I don't know.                                      10    A Uh-huh (affirmative).
11        MR. UNDERRINER: Object to the form.              11    Q Between 2017 and 2019, other than Weber
12 BY MR. BOUCHARD:                                        12 and McClelland, did you at any time have any other
13    Q You don't recall?                                  13 private security at the hotel?
14    A I don't know.                                      14    A No.
15    Q Well, do you believe that you received             15    Q So you've never hired another private
16 other proposals like this one around that time in       16 security company?
17 2017 when you were shopping?                            17    A No.
18    A I don't know.                                      18    Q Correct?
19    Q Well, you have testified earlier today             19    A That's right.
20 that in 2017 you reached out and requested              20    Q So we don't know if you got any other
21 proposals either by email or phone from other           21 proposals other than this proposal in Plaintiff's 3
22 security providers, right?                              22 from Brown Protective Services. But regardless,
23    A Yes.                                               23 you didn't hire anybody else, right?
24    Q Do you think Brown Protective Services             24    A Right.
25 was the only service provider that you reached out      25    Q And what I don't understand is why you
                                                Page 293                                                    Page 295
 1 to or do you think there were others?                    1 didn't hire more security?
 2    A Maybe. I don't know. Maybe there are                2     A There could be their timing issue or my
 3 other.                                                   3 timing issue or some other -- I don't know.
 4    Q Do you think there were or do you not               4        (Plaintiff's Exhibit 4 marked)
 5 think there were?                                        5 BY MR. BOUCHARD:
 6    A I don't know.                                       6     Q Mr. Shareef, I'm handing you what's been
 7    Q But you're the only person who would know           7 marked as Plaintiff's Exhibit 4. And Plaintiff's
 8 that, right, Mr. Shareef?                                8 Exhibit 4 is Bates stamped NBI 2566 to 67.
 9    A Right.                                              9 Mr. Shareef, page 1 of Plaintiff's Exhibit 4 is a
10    Q And your testimony is I just don't know?           10 Business Record Certification in the United States
11    A I mean yeah, I don't know. That's the              11 District Court for the Northern District of Georgia
12 best I can remember.                                    12 and the second page of Plaintiff's Exhibit 4 is a
13    Q Where did you get the name Brown                   13 Waiver of Appearance and Document Receipt. Do you
14 Protective Services from?                               14 see that?
15    A Maybe he left a card there. He left a              15     A Yes.
16 business card there. I don't know how, you know, I      16     Q The second page of Plaintiff's Exhibit 4
17 had contact with him.                                   17 is captioned Northern District of Georgia, In Re:
18    Q Why did you not hire them?                         18 Grand Jury Proceedings, the second page. Do you
19    A For maybe any reason. I don't know. I              19 see that at the top of the document?
20 don't even recall, you know, what the conversation      20     A Yes.
21 was with him. But I don't have the answer.              21     Q Did United Inn and Suites receive a
22    Q You received this proposal in                      22 federal grand jury subpoena in 2017?
23 November 2017, but you decided not to hire Brown        23     A Are you talking about this one?
24 Protective Services?                                    24     Q I'm asking did United Inn and Suites
25    A Yes.                                               25 receive a federal grand jury subpoena in 2017?

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 1    A Underage person.                                    1 about the -- some crimes. Maybe that's coming from
 2        (Plaintiff's Exhibit 8 marked)                    2 there. I don't recall.
 3 BY MR. BOUCHARD:                                         3     Q I can represent to you that it means be
 4    Q I'm showing you what's been marked as               4 on the lookout for. Is that new information to you
 5 Plaintiff's Exhibit 8. This is another email from        5 or is that something you're aware of?
 6 Investigator Wade. If you compare it to                  6     A No, I certainly don't call this
 7 Plaintiff's Exhibit 7, you'll see that it was sent       7 abbreviation -- don't recall this abbreviation.
 8 one second after Plaintiff's Exhibit 7. Do you see       8     Q Recall this?
 9 that?                                                    9     A Abbreviation.
10    A Yes.                                               10        MR. UNDERRINER: Abbreviation.
11    Q And this email has a subject line that             11 BY MR. BOUCHARD:
12 says Missing Juvenile; is that right?                   12     Q Abbreviation. But you see underneath
13    A Right.                                             13 BOLO it says Missing Person?
14    Q And it has an attachment to it. Do you             14     A Right.
15 see that? I'm going to give you the attachment in       15     Q And you understand what that means?
16 a second. But underneath the subject line it says       16     A Uh-huh.
17 Attachments.                                            17     Q Right?
18    A Yes.                                               18     A Yes.
19    Q This is an email that the United Inn and           19     Q And it says that Rockdale County is
20 Suites received; is that correct?                       20 looking for this missing person, correct?
21    A Yes.                                               21     A Yes.
22    Q Because it was sent, again, to the same            22     Q As of October 9th, 2018, correct?
23 email address as Plaintiff's Exhibit 7?                 23     A Yes.
24    A Right.                                             24     Q And the email that you received from Tim
25        (Plaintiff's Exhibit 9 marked)                   25 Wade, which is Plaintiff's Exhibit 8, was dated
                                                Page 313                                                 Page 315
 1 BY MR. BOUCHARD:                                    1 October 29th, 2018, right?
 2     Q I'm showing you Plaintiff's Exhibit 9         2    A Yes.
 3 which is Bates stamped NBI 3107. This was attached 3     Q So at this point according to my math she
 4 to the email Plaintiff's Exhibit 8 that we were     4 had been missing for about 20 days?
 5 just looking at, Mr. Shareef. Did you open up that  5    A Yes.
 6 email that we were just looking at and the          6    Q And it provides a photo of her?
 7 attachment to it when you received it in            7    A Uh-huh.
 8 October 2018?                                       8    Q Is that correct?
 9     A I don't know. But I may have.                 9    A Uh-huh (affirmative).
10     Q Do you recall seeing this notice which is    10    Q And remember, sir, we need audible yes or
11 Plaintiff's Exhibit 9?                             11 nos.
12     A No, I don't recall.                          12    A Yes. I'm sorry about that.
13     Q Is this the first time you're seeing         13    Q And it provides her name?
14 this?                                              14    A Yes.
15     A Yes.                                         15    Q J.G., do you see that?
16     Q You have not seen this prior to today?       16    A Yes.
17     A No.                                          17    Q Who is J.G. in this lawsuit against
18     Q Do you know what BOLO stands for?            18 United Inn and Suites.
19     A BOLO stand for?                              19    A Yes.
20     Q B-O-L-O.                                     20    Q Do you understand that?
21     A BOLO stand for.                              21    A Yes.
22     Q Do you know what that means, BOLO?           22    Q And it also provides her age, race, hair
23     A I don't recall. But I may have sitting       23 color, eye color, height, and weight.
24 in one of the Police, Sheriff, or maybe DeKalb     24    A Yes.
25 County Police meeting and we got some material     25    Q Do you see that?

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 1     A Yes.                                                 1 unable to discern whether somebody looks like a
 2     Q It says a little bit further down on                 2 minor or not?
 3 Plaintiff's Exhibit 9: Anyone with information             3        MR. UNDERRINER: Object to the form.
 4 about this case is asked to contact, and it                4     A Looking at this picture, yes.
 5 provides office, cell numbers, and a 24-hour number        5 BY MR. BOUCHARD:
 6 to contact. Do you see that?                               6     Q Based on this photo you cannot tell --
 7     A Yes.                                                 7     A I cannot.
 8     Q If I heard you correctly, Mr. Shareef,               8     Q -- if she looks like a minor?
 9 you have not ever seen Plaintiff's Exhibit 9 before        9     A I cannot.
10 today; is that correct?                                   10     Q But you know that it says her current age
11     A That maybe 2017 we will seen it when we             11 is 16?
12 open the email. I'm going to give you example. I          12     A I can read.
13 don't know if that works or not. There are few            13     Q Did you ever contact Investigator Wade?
14 missing person when police officer came. We put it        14     A I might have been. I don't know what I
15 in our office bulletin board, we put it there and         15 respond via email or anything, you know. What
16 it stay there. But I don't remember all these             16 record, you know, they ask me if I had the record.
17 names.                                                    17 I must have send it to them whatever question they
18     Q How many missing person reports have you            18 have.
19 received regarding minors?                                19     Q It is okay if the answer is no or I don't
20     A Right. Minors, I don't know about the               20 know. My question was very straightforward.
21 minor report. But the missing person, I mean even         21     A Right.
22 right now in my, you know, front desk we have maybe       22     Q Did you ever contact Investigator Wade?
23 ten pictures missing persons.                             23     A Again, I don't know. Maybe I have been.
24     Q Are any of them minors?                             24     Q You may have, you may have not?
25     A It could have been. I don't know. I                 25     A Right.
                                                  Page 317                                                  Page 319
 1 don't recall right now.                           1     Q You do not know; is that true?
 2    Q Well, I don't know what other notices you 2        A I do not know.
 3 may have at your front desk right now. But        3     Q Do you have any knowledge of whether
 4 Plaintiff's Exhibit 9 identifies J.G., J.G. as a  4 Mr. Islam contacted Investigator Wade?
 5 minor --                                          5     A I don't think so. But this inspector may
 6    A Right.                                       6 come back and, you know, talk to him. I don't
 7    Q -- is that correct?                          7 know.
 8    A Yes.                                         8     Q Do you have a recollection of
 9    Q And she looks like a minor in this photo, 9 Investigator Wade ever coming to the United Inn and
10 does she not?                                    10 Suites?
11    A I don't know.                               11     A No.
12        MS. RICHENS: Objection as to form.        12     Q You do not recall?
13 BY THE VIDEOGRAPHER:                             13     A No.
14    Q Well, I'm asking for your perception,       14     Q Mr. Shareef, do you agree with me that
15 Mr. Shareef.                                     15 there being a missing youth who is suspected of
16    A I don't know. I cannot say anything         16 being at the United Inn and Suites is a priority
17 about this.                                      17 matter?
18    Q You have no opinion whatsoever?             18        MR. UNDERRINER: Object to form.
19    A No.                                         19        MS. RICHENS: Same objection.
20    Q You are responsible for the security at     20     A I don't know how to answer that.
21 the property; is that true?                      21 BY MR. BOUCHARD:
22    A Uh-huh (affirmative). Yes.                  22     Q As the owner and general manager, would
23    Q As the general manager?                     23 it concern you if a police officer called you and
24    A Right.                                      24 said we have a credible lead that there's a missing
25    Q And your position is that you are totally 25 minor at your hotel?
                                                                                            17 (Pages 316 - 319)
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                                              Page 320                                              Page 322
 1        MS. RICHENS: Objection as to form.           1    Q Did the hotel receive this email as well?
 2     A I mean they always come and they ask this     2    A Yes.
 3 question. And like I said, I give them the record,  3    Q Did you review this email?
 4 I open the door. If they says look I think, you     4    A Yes.
 5 know, that such and such room we need to check. So 5     Q And you see it says Subject Missing
 6 I always help them. But that's my concern, if       6 Person; is that right?
 7 there is any, I help them. So I don't know what --  7    A Right.
 8 how to answer you. Concern me, of course concern    8    Q And the body of the email says: Ashar
 9 me and I help them solve the issue.                 9 was advised by her guardian that she was staying at
10 BY MR. BOUCHARD:                                   10 United Inn located at 4649 Memorial Drive. Thank
11     Q Well, that's an answer.                      11 you for your help.
12     A Okay.                                        12        Do you see that?
13     Q Yes, it concerns you if there's --           13    A Right.
14     A Okay.                                        14    Q And as you can see, there's an attachment
15     Q -- a missing minor at the hotel?             15 to Plaintiff's Exhibit 10 which is identical to the
16     A Okay.                                        16 BOLO notice that we already looked at.
17     Q Is that correct?                             17    A Right.
18     A Yes.                                         18    Q Do you recall that?
19     Q Would you want to it concern the staff at    19    A Right.
20 the hotel too?                                     20    Q Mr. Shareef, we have talked about three
21     A Yes.                                         21 emails from Investigator Wade on October 29th, 2018
22     Q Would you train your staff to care about     22 and two BOLO notices. What, if anything, did the
23 things like that?                                  23 United Inn do in response to these emails and these
24     A Yeah. They have -- they have known, you      24 BOLO notices?
25 know, if they see some suspicious thing, they tell 25    A The response would be if I see this girl,
                                              Page 321                                              Page 323
 1 me. I talk to other -- you know, they can call the   1 we notify whoever is, you know, concerning about
 2 police, you know, or they call 911 or they tell me,  2 this email, this time this Mr. T. Wade. So that's
 3 I call my police officer. Most the time call the     3 what it is.
 4 local police.                                        4     Q I can represent to you, Mr. Shareef, that
 5        MS. RICHENS: David, may we take a quick       5 I did not see a response to Investigator Wade in
 6 break?                                               6 your emails. Do you believe that you did respond
 7        MR. BOUCHARD: Sure.                           7 to Investigator Wade?
 8        THE VIDEOGRAPHER: Off the record at           8     A We may have communicated via phone with
 9 2:29 p.m.                                            9 Wade.
10        (Recess 2:29-2:41 p.m.)                      10     Q Do you recall doing so?
11        THE VIDEOGRAPHER: Back on the record at 11          A No.
12 2:41 p.m.                                           12     Q Do you know if anybody else on behalf of
13        (Plaintiff's Exhibit 10 marked)              13 United Inn communicated with Investigator Wade?
14 BY MR. BOUCHARD:                                    14     A I see this email name Ashar, so might
15     Q Mr. Shareef, I'm handing you what's been      15 have talked to Ashar and Ashar talk to him.
16 marked as Plaintiff's Exhibit 10 which is Bates     16     Q Did you ever communicate with Ashar about
17 stamped NBI 3097 to 3098. Do you see that,          17 his communication with Investigator Wade?
18 Mr. Shareef?                                        18     A Maybe that time. But I don't know.
19     A Yes.                                          19     Q You don't recall as you --
20     Q And you see it is another email from          20     A No.
21 Investigator Tim Wade on October 29th, 2018?        21     Q -- sit here today?
22     A Yes.                                          22     A No.
23     Q And it is also to                             23     Q Do you recall whether you held a staff
24 unitedinn4649@gmail.com?                            24 meeting to talk about these missing juvenile
25     A Right.                                        25 notices?

                                                                                     18 (Pages 320 - 323)
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 1     A No.                                               1 are there, so you look around and see if the person
 2     Q You did not hold one or you do not                2 you see. Maybe they are around and sometime
 3 recall?                                                 3 they're not there, you know.
 4     A I do not recall.                                  4    Q Are you testifying to something that
 5     Q Did you post a photo of J.G. at the               5 might have happened or that you recall happening?
 6 hotel?                                                  6    A No. No. I am testifying that when any
 7     A I may have. But I don't recall.                   7 picture --
 8     Q Where would you have posted it?                   8    Q Well, I'm not talking about any picture.
 9     A Post it in the office where everybody             9 I'm specifically asking do you recall sharing this
10 comes in every day.                                    10 photo of J.G. with Weber and McClelland?
11     Q Where is that?                                   11    A I may have tell them that look at that
12     A It is in the office.                             12 board there, we put the picture there. Other than
13     Q Are you talking about in the lobby?              13 that I don't recall.
14     A No, not lobby. In the office back, I can         14    Q You may have told them?
15 say back of the office.                                15    A Yeah.
16     Q Who goes in there every day?                     16    Q But you may have not told them; is that
17     A All the employees go there.                      17 what you're saying?
18     Q Would you have made an announcement to           18    A I don't recall.
19 all the employees that you have just posted this       19    Q You do not recall --
20 new photo of a missing juvenile reported to be at      20    A Yeah.
21 the hotel?                                             21    Q -- if you told them?
22     A I don't recall.                                  22    A Yeah.
23     Q Did you send this photo of J.G. to               23    Q Correct?
24 Sergeant Weber?                                        24    A I don't recall what I tell them is what I
25     A I may have, you know, talked with him the        25 am saying.
                                               Page 325                                                   Page 327
 1 same night, you know, look at that, you know, photo 1     Q Is it possible you did not tell them
 2 or something. We may have talked.                    2 about this photo?
 3    Q You do not recall?                              3    A I don't know.
 4    A I don't recall.                                 4    Q I am taking it the answer is no because
 5    Q What about Sergeant McClelland?                 5 we have beaten this drum about the security at the
 6    A I don't recall.                                 6 hotel. But I need to ask just to be sure. Did the
 7    Q If you had sent it to either of those           7 hotel hire any additional security after receiving
 8 gentlemen, you would have sent it to them by text    8 this photo of J.G.?
 9 message; is that correct?                            9    A No.
10    A I sent them a text message or maybe I          10    Q Did the hotel ask Weber or McClelland to
11 called them and said look, when you come in, you    11 work more than four hours per day after receiving
12 know, look at this picture, you know, see if you    12 this photo of J.G.?
13 see this, you know, person.                         13    A Hotel asked them to when they are, you
14    Q Well, I can represent to you that I have       14 know, in the DeKalb County when they are in this
15 what I believe are your text messages from 2017 to  15 area, they come and, you know, visit more often
16 2019 with Weber and McClelland. I have not seen a 16 there daytime when they working on their regular
17 text message with that photo.                       17 job, so they come visit, you know.
18    A Okay.                                          18    Q Did the hotel ask them to work more than
19    Q Is there some other way you might have         19 four hours a day after receiving this photo of
20 sent her photo to Weber or McClelland or is there   20 J.G.?
21 no other way other than by text message?            21    A No.
22    A I mean they come there every day, so we        22    Q Did you ask the DeKalb Police Department
23 just tell them look at this picture, you know, when 23 to help the hotel implement prevention efforts
24 you come in. Because maybe we didn't see such and 24 after receiving this photo of J.G.?
25 such person, you know, so we tell them look, you    25    A I don't recall.

                                                                                         19 (Pages 324 - 327)
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 1     Q Yeah. After you hired a lawyer, did you           1    Q And as you said, you decided to pay the
 2 decide whether or not to pay the fines that the         2 fine --
 3 DeKalb County Code Enforcement Division had             3    A Right.
 4 assessed on the United Inn and Suites?                  4    Q -- is that right?
 5     A Right.                                            5         And that is reflected on page 2 of
 6     Q And your decision was to pay the fines;           6 Plaintiff's Exhibit 15; is that correct?
 7 is that correct?                                        7    A Right.
 8     A Yes.                                              8    Q The cashier's check for $60,345?
 9        (Plaintiff's Exhibit 15 marked)                  9    A Right.
10 BY MR. BOUCHARD:                                       10    Q And your understanding was that that was
11     Q Showing you Plaintiff's Exhibit 15, which        11 the fine for violations of the DeKalb County code?
12 is Bates stamped NBI 2431 to 2432. Mr. Shareef,        12    A Right.
13 Plaintiff's Exhibit 15 is on page 1 a Deferred         13         (Plaintiff's Exhibit 16 marked)
14 Sentencing Order and on page 2 a cashier's check.      14 BY MR. BOUCHARD:
15 Do you see that?                                       15    Q Showing you Plaintiff's Exhibit 16 which
16     A Yes.                                             16 I only printed one copy of. Even I don't have a
17     Q The Deferred Sentencing Order says in the        17 copy of it because it is so voluminous. But it is
18 first paragraph -- well, actually let me back up.      18 Bates stamped NBI 971 to NBI 1228.
19 The Deferred Sentencing Order says at the top In       19         MS. RICHENS: What's happening, is there
20 the Magistrate Court of DeKalb County, State of        20 just the original?
21 Georgia, State of Georgia versus Northbrook            21         MR. BOUCHARD: Yeah. I just said on the
22 Industries, Inc. d/b/a United Suites; is that          22 record that I have only printed one because it is
23 right?                                                 23 258 pages.
24     A That's right.                                    24         MS. RICHENS: Okay.
25     Q Is that your hotel?                              25
                                               Page 345                                                  Page 347
 1     A Yes.                                              1 BY MR. BOUCHARD:
 2     Q And it says in the first paragraph of             2     Q Mr. Shareef, I can represent to you that
 3 this Deferred Sentencing Order: The Defendant           3 on the first page of Plaintiff's Exhibit 16, you
 4 having come before the Court today on the               4 should see reference to the word Receipt. And what
 5 above-referenced charges, has entered a plea of         5 I understand Plaintiff's Exhibit 16 --
 6 guilty slash nolo and the Court has accepted the        6        MS. RICHENS: May we take a quick look?
 7 Defendant's plea. A final sentencing hearing in         7        MR. BOUCHARD: Yeah.
 8 this matter will be held at 2:00 p.m. on July 16th,     8 BY MR. BOUCHARD:
 9 2018 in the Magistrate Court of DeKalb County           9     Q Do you see on the first page of
10 located at, and it provides the address. As such,      10 Plaintiff's Exhibit 16 there's a reference to
11 the Defendant is hereby ordered to appear at said      11 Receipt?
12 sentencing hearing.                                    12     A Yes.
13        Do you see that?                                13     Q And I understand Plaintiff's Exhibit 16
14     A Yes.                                             14 outlines the violations at the United Inn and
15     Q The next paragraph says: The Court is            15 Suites of the DeKalb County code defined for each
16 currently considering sentencing the Defendant to      16 of those violations and then on the very last page
17 pay a fine and state-imposed fees totaling $60,345.    17 tells you the total fine owed.
18 If the Defendant pled guilty or nolo and it elects     18     A Right.
19 to pay the fine and fees under consideration as a      19     Q So if you flip to page 258 of Plaintiff's
20 sentence to the Clerk of the Magistrate Court of       20 Exhibit 16, the very last page, you should see the
21 DeKalb County on or before the sentencing hearing,     21 total amount of the fine is $60,345.
22 the Court will impose the fine and fees as detailed    22     A Yes.
23 as the sentence in this case.                          23     Q And you see the amount paid is $60,345?
24        Do you see that?                                24     A Right.
25     A Yes.                                             25     Q Which is what we just saw in the

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                                               Page 368                                                   Page 370
 1     Q Have you had a chance to review them?             1    A After looking at the messages, yes.
 2     A I see them.                                       2    Q What was the circumstances of that
 3     Q Is this the total set of your text                3 shooting?
 4 messages with Mr. Weber?                                4    A I don't know. But I believe I heard,
 5     A Yes.                                              5 because I'm almost above this room, and I heard,
 6     Q So all of your communications by text             6 you know, few gunfire. And we call and also the
 7 message with Mr. Weber from 2017 to 2019 are            7 911. And then I send him a message because I
 8 reflected here?                                         8 didn't see him there. Because I know he's coming
 9     A Yes.                                              9 with the next, you know, hour, two hour, so I asked
10     Q All right. If you look at page NBI 4061,         10 him to check it. And he came and -- I think he
11 which is the second page, if you sent                  11 came to the property. And then he called the
12 Sergeant Weber a photo, that's what it would look      12 police officer and I think he talked with them.
13 like, right?                                           13    Q And concluded that it was prostitution
14     A Yeah.                                            14 related?
15     Q If you flip the page to 4062. And you            15    A I am not hundred percent.
16 asked on May 4th, 2017 for information about the       16    Q Well, look at page NBI 4063, please,
17 shooting in 142. Do you see that on 5/4/2017?          17 where it says at the top: So far all I know is
18     A Yes.                                             18 that it was prostitution related.
19     Q And the first thing I wanted to ask you          19         Do you see that?
20 was the date there is May 4th, 2017. Do you see        20    A Yeah.
21 that?                                                  21    Q Do you agree it appears that he concluded
22     A Yes.                                             22 the shooting was related to prostitution in room
23     Q The date above that is January 29th,             23 142?
24 2017.                                                  24    A Looking at the messages, yes, he
25         Do you see that?                               25 concluded that way.
                                               Page 369                                                   Page 371
 1    A Yes.                                               1     Q Do you have any further understanding of
 2    Q So does that mean that you didn't                  2 what caused that shooting in room 142?
 3 exchange any texts for the entire month of              3     A No. When he take over, then at the end
 4 February, March, April with Sergeant Weber?             4 he just, you know, if we meet, he give me the
 5    A I guess you're right.                              5 report what's going on or he send a message, you
 6    Q So about 90 days plus you did not send or          6 know, this is what happened.
 7 receive any text messages from Sergeant Weber; is       7     Q It looks like your next text message with
 8 that right?                                             8 him is a month later on June 4th; is that right?
 9    A Right.                                             9     A June 4th, yeah.
10    Q And I think you had told me that                  10     Q So it looks like about 30 days pass
11 Sergeant Weber would not prepare reports               11 before you have any further written
12 documenting what he had done on his shift; is that     12 correspondence --
13 right?                                                 13     A Right.
14    A Right.                                            14     Q -- with him?
15    Q He would not submit any written                   15     A Right.
16 documentation to you?                                  16     Q So you don't send him any messages about
17    A No.                                               17 what steps are you taking to try to prevent
18    Q Or to the hotel?                                  18 commercial sex activity on the property; is that
19    A No.                                               19 right?
20    Q And so unless there's a text message,             20     A No, I don't send him that. We talk about
21 there's nothing in writing from him to you or the      21 it because we meet quite often, you know. And
22 hotel about his shift; is that right?                  22 that's the year when I need to stay there and fix
23    A Right.                                            23 those violations, so I was there, you know, more
24    Q Do you recall a shooting in room 142 in           24 and I see him or other officer.
25 May 2017?                                              25     Q Were you not there as much in 2016?

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                                               Page 380                                                 Page 382
 1     A Yes.                                          1 you handwrite them and somebody typed this for you?
 2     Q In the back parking lot --                    2     A No. No. They gave us the -- I believe
 3     A Back parking lot --                           3 they gave us some links, you know, click on these
 4     Q -- generally?                                 4 links and go to certain website. And some of them
 5     A -- yes.                                       5 I think they give them to us there and I retype it.
 6     Q What about Weber, is he generally in the      6 Because there are -- on those notes I see there's
 7 back or the front?                                  7 lot of things repeated, so I type my basically own
 8     A He is -- I see him, he is -- he park          8 notes plus some of the notes coming from the
 9 always at the front.                                9 websites.
10     Q He always parks in the front?                10     Q And you're saying that you think you
11     A Almost always, yes.                          11 attended meetings related to the DeKalb County Code
12     Q Do you know why they do it differently?      12 Enforcement?
13     A I don't know.                                13     A There was a meeting, you know,
14     Q It is not something you have asked for?      14 collaboration with the Code Enforcement and the
15     A No.                                          15 Tourism, DeKalb County Tourism Department.
16     Q They do that on their own?                   16     Q Was this relating to the DeKalb County
17     A Yeah.                                        17 Hotel, Motel Ordinance in 2017?
18     Q Mr. Shareef, when we talked in February I    18     A Yes.
19 had asked you about background checks of employees 19     Q DeKalb County hosted meetings for DeKalb
20 at the United Inn and Suites. I have not seen any  20 hotel owners and operators to attend --
21 documents in your production showing background 21        A Right.
22 checks on employees or workers or laborers or      22     Q -- to talk about the ordinance?
23 independent contractors at the hotel. I assume     23     A Yes.
24 that means there is no such documentation of       24     Q And at those meetings, is it more than
25 background checks?                                 25 one meeting or just one meeting?
                                               Page 381                                                 Page 383
 1     A Well, I don't know. I couldn't find            1     A I attend maybe two meetings.
 2 anything.                                            2     Q At those meetings at least one of the
 3        (Plaintiff's Exhibit 29 marked)               3 topics was the ordinance for the hotels --
 4 BY MR. BOUCHARD:                                     4     A Right. Right.
 5     Q Mr. Shareef, I'm showing you Plaintiff's       5     Q -- in DeKalb County --
 6 Exhibit 29, and this is Bates stamped NBI 625 to     6     A Uh-huh (affirmative).
 7 NBI 631.                                             7     Q -- that the DeKalb County commission was
 8        Do you see that?                              8 talking about passing?
 9     A Yes.                                           9     A Right.
10     Q This appears to be a compilation of           10     Q And another topic was human trafficking?
11 documents and articles, but it was produced to us,  11     A Yes.
12 the Plaintiffs, by Northbrook Industries, Inc. So   12     Q Were there other topics at these
13 can you tell me what this is, what these series of  13 meetings?
14 documents are about human trafficking.              14     A Other topics are how to go into their --
15     A Yeah. These are like I think -- I'm not       15 in their website, register yourself, you can get
16 sure which -- what date but this is almost          16 more customers so they can expose you with the
17 happening on the -- when we got these violations    17 other events in the DeKalb County so you can find
18 and we have few meetings with the DeKalb County 18 groups coming from the other cities to have their
19 Police and the county Tourism Department. And they 19 family gathering or whatever their visit, visitors
20 have some of the material given to us and then some 20 who are contacting them. So it is basically
21 of the links, website they give it to us to read    21 helpful to find more customers, so these are the
22 the material and share with the staff. So this is   22 topics there.
23 what I -- this is kind of my notes I can say.       23     Q The DeKalb County Tourism Department was
24     Q Help me understand that. Did you bring a      24 trying to help hotels develop business?
25 computer and you typed these notes yourself or did 25      A More business, yes.

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